                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                  GREENEVILLE DIVISION

   B.P., et al.,

                   Plaintiffs,

   v.                                                     No: 2:23-cv-00071-TRM-JEM



   CITY OF JOHNSON CITY,
   TENNESSEE, et al.,

               Defendants.
   __________________________________/


   MOTION TO COMPEL PRODUCTION OF (1) DEFENDANTS’ FINANCIAL RECORDS
     AND (2) THE REAL ESTATE CONTRACT BETWEEN CITY MANAGER CATHY
                          BALL AND SEAN WILLIAMS

           In January 2024, Plaintiffs requested tax records for the past ten years for Defendants

   Karl Turner, Kevin Peters, Toma Sparks, and Justin Jenkins. Plaintiffs also requested Defendants

   to identify all assets in their possession, custody, or control which could be used to satisfy a

   judgment. Defendants objected to both requests and produced nothing. On March 12, 2024,

   Plaintiffs sent a second set of requests to all individual Defendants, including Defendants Jeff

   Legault and Brady Higgins, specific to the time period January 1, 2018, to the present, which

   asked them to identify, among other things, all financial institutions where they have maintained

   accounts, identify any accounting firms they have used, identify all assets over $10,000 bought

   or sold and any titles for said assets, and produce all bank statements. On May 9, 2024, Plaintiffs

   further requested Jenkins produce receipts for Facebook Marketplace sales he made during the

   relevant time period, and mortgage records, among other items. To date, Defendants have failed

   to comply with these additional requests and/or have provided evasive or incomplete responses.


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          Additionally, during the deposition of City Manager Cathy Ball, Plaintiffs learned—for

   the first time—that Ball had entered into a real estate contract with Sean Williams in April 2022

   for the off-market sale of his penthouse apartment for a price well below the market value. Ball

   made this deal while Williams was a fugitive from the Johnson City Police Department

   (“JCPD”), and Ball oversaw the police force in her role as City Manager. Ball testified that she

   had records of this transaction “in [her] office.” Baehr-Jones Decl., Exh. 22, Ball Dep. 262:3. On

   June 12, 2024, Plaintiffs requested Defendant City produce these records no later than June 18,

   2024, as the records were responsive to Plaintiffs’ Request for Production No. 2 for all

   documents relating to Williams, which Plaintiffs had served on the City on December 21, 2023.

   Baehr-Jones Decl. ¶ 3. Defendant City did not respond. Id. On June 24, 2024, Plaintiffs provided

   another deadline of June 26, 2024. Id. Defendant City again did not comply and disputed that the

   records were responsive to Plaintiffs’ requests. Id. Ball then held a press conference on June 26,

   in anticipation of Plaintiffs filing this motion, announcing the real estate deal with Williams

   herself, and claiming to do so for purposes of “transparency.” Baehr-Jones Decl., Exh. 21. 1

          Plaintiffs therefore bring this motion to compel the above requests and seek attorneys’

   fees and costs, pursuant to Federal Rule of Civil Procedure 37(a)(5), as the deadlines for

   production have all passed and Defendants’ objections are not substantially justified.




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             At Defendants’ insistence, Plaintiffs filed the redacted deposition transcript of Cathy
   Ball provisionally under seal on June 14, 2024, and additionally redacted any information
   concerning Ball’s real estate deal with Williams from the public version of that filing. See ECF
   221-1; Baehr-Jones Decl. ¶ 5. Plaintiffs made it clear in their notice to the Court that they did not
   believe anything in the redacted Ball transcript merited sealing but were requesting provisional
   sealing nonetheless in deference to defense counsel’s demands. Id. It is indefensible and
   unethical for counsel for the City to insist on Plaintiffs filing this material under seal only for
   their representative to hold a press conference to spin her version of the events in anticipation of
   Plaintiffs filing this motion. Plaintiffs intend to bring a renewed motion to enjoin the
   extrajudicial conduct of Cathy Ball and a motion for sanctions against counsel for the City.
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                             RELEVANT FACTUAL BACKGROUND

      A. The Relevant Requests and Interrogatories

          This motion seeks to compel complete responses to the following Plaintiffs’ Requests for

   Production and Interrogatories:

              •   Request for Production No. 7 (“RFP #7”), served on Defendants Turner, Peters,
                  Sparks, and Jenkins on January 4 and 12, 2024, requesting, “All tax form W-2’s,
                  1099’s and tax returns filed by you or on your behalf, personally, as a member of
                  a trust or other legal entity, or on behalf of any business you have or had an
                  ownership interest in for the past 10 years to date.” Decl. of Vanessa Baehr-Jones
                  (“Baehr-Jones Decl.”), Exhs. 1-4 (First Set of Interrogatories and Requests for
                  Production of Documents to Defendants Turner, Peters, Sparks, and Jenkins), at 6.

              •   Interrogatory No. 9 (“Rog #9”), served on Defendants Turner, Peters, Sparks, and
                  Jenkins on January 4 and 12, 2024, requesting Defendants, “List all assets in your
                  possession, custody or control that may be used to satisfy a judgment.” Id. at 4.

              •   Interrogatory No. 1 (“Rog #1”), served on all individual Defendants on March 14,
                  2024, requesting Defendants, “Identify all ASSETS valued over $10,000 bought
                  or sold since January 1, 2018, including the date of the purchase or sale and the
                  amount paid in consideration.” Baehr-Jones Decl., Exhs. 5-10, at 3.

              •   Interrogatory No. 2 (“Rog #2”), served on all individual Defendants on March 14,
                  2024, requesting Defendants, “Identify all title(s) YOU hold to property valued
                  over $10,000.” Id.

              •   Interrogatory No. 4 (“Rog #4”), served on all individual Defendants on March 14,
                  2024, requesting Defendants, “Identify all accounting firms used to prepare
                  YOUR tax returns since January 1, 2018, including the name and address of each
                  firm.” Baehr-Jones Decl., Exhs. 5-9, at 4 and Exh. 10, at 3.

              •   Interrogatory No. 5 (“Rog #5”), served on all individual Defendants on March 14,
                  2024, requesting Defendants, “Identify all financial institutions where YOU have
                  maintained accounts since January 1, 2018, including the name and address of
                  each institution.” Id.

              •   Request for Production No. 10 (“RFP #10”), served on Kevin Peters and Toma
                  Sparks on March 14, 2024, requesting, “All bank statements from January 1, 2018
                  to the present.” Baehr-Jones Decl., Exhs. 6-7, at 5.

              •   Request for Production No. 11 (“RFP #11”), served on Justin Jenkins March 14,
                  2024, requesting, “All bank statements from January 1, 2018 to the present.”
                  Baehr-Jones Decl., Exh. 10, at 5.

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              •   Request for Production No. 14 (“RFP #14”), served on Karl Turner on March 14,
                  2024, requesting, “All bank statements from January 1, 2018 to the present.”
                  Baehr-Jones Decl., Exh. 5 at 5.

              •   Request for Production No. 1 (RFP #1), served on Jenkins on May 15, 2024,
                  requesting, “All receipts for purchases and/or sales over $1,000 YOU made on
                  Facebook Marketplace for the relevant time period.” Baehr-Jones Decl., Exh. 11
                  at 4.

              •   Request for Production No. 2 (“RFP #2”), served on Defendant City on December
                  21, 2023, requesting, “All DOCUMENTS REGARDING SEAN CHRISTOPHER
                  WILLIAMS, including but not limited to, recordings, incident reports, statements,
                  and inter- or intra- departmental COMMUNICATIONS.” Baehr-Jones Decl., Exh.
                  12, at 3.

          Defendants Turner, Peters, Sparks, and Jenkins refused to produce anything responsive to

   RFP #7 and Rog #9. Baehr-Jones Decl. ¶ 6. All Defendants objected to producing complete bank

   statements, and to date, Plaintiffs have received no financial records from any of the Defendants.

   Baehr-Jones Decl. ¶ 7. Defendants provided incomplete responses to Rog #1 and Rog #2. See

   Baehr-Jones Decl., Exhs. 13-16. Finally, Defendants Jenkins produced incomplete responses to

   RFP # 1, failing to produce any Facebook Marketplace receipts for sales of his assets. Baehr-

   Jones Decl. ¶ 8.

          Plaintiffs have engaged in extensive meet and confers regarding Defendants’ failure to

   produce complete financial records in response to the above requests and interrogatories.

   Additionally, Plaintiffs requested Defendant City produce the records of Ball’s real estate deal

   with Williams in response to RFP #2. To date, Defendants have either refused to produce the

   relevant documents, produced incomplete responses, or offered only excerpted or time-limited

   records. Baehr-Jones Decl. ¶ 9.

          As set forth below, the allegations and discovery obtained thus far in this case support the

   relevance of the above requests. The Court should therefore order Defendants to comply

   immediately and completely with the above requests and interrogatories.

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      B. The Alleged Extortion Scheme Involved Payments to JCPD Officers

          Plaintiffs have alleged that Defendant Toma Sparks and other JCPD officers engaged in

   an extortion scheme of Sean Williams and his company, Glass and Concrete Contracting LLC

   (“GCC”), through Female 4, taking cash from Female 4 in exchange for turning a blind eye to

   Williams’ repeated sexual assaults of women and children in Johnson City. ECF 121, Second

   Amended Complaint (“SAC”) ¶¶ 57-183, 311-66. The JCPD extortion scheme began around

   2018 and continued until at least 2021. See id. ¶¶ 18-56. The allegations specifically state that

   Defendant Sparks received this money himself. Id. ¶ 63. With respect to the other Defendant

   JCPD officers, including Turner, Peters, Jenkins, Legault, and Higgins, the SAC alleges that they

   obstructed any investigation into Williams’ sex trafficking venture for the purpose of covering up

   the extortion scheme. Id. ¶¶ 80, 87, 313-16.

          Thus, the SAC alleges intentional and knowing misconduct on the part of all Defendant

   officers. The alleged motive for this obstructive conduct was to prevent the discovery of JCPD’s

   corrupt extortion scheme to obtain cash from Williams. In other words—under this theory of the

   case—the officers were all motivated, either directly or indirectly, by money. 2

      C. Bank Records and Deposition Testimony Corroborate the Extortion Scheme
         Allegations

          As noted in a prior filing, see ECF 190, Plaintiffs obtained bank records for Williams’

   company, Glass and Concrete Contracting LLC (“GCC”), as well as for limited liability



          2
            According to Higgins’ deposition testimony, he was advised by Peters and others to take
   obstructive acts in the case of Female 8 and did not himself have knowledge of the larger
   scheme. (Baehr-Jones Decl., Exh. 17, Excerpts of Deposition Transcript for Brady Higgins
   (“Higgins Dep.”), 114:19-25; 115:1-10; 102:17-25; 103:1-19.) While this tends to show Higgins
   had a minimal/unwitting role in the conspiracy, it further supports Peters was acting knowingly
   and intentionally to obstruct the investigations into Williams by personally directing Higgins to
   take these actions while withholding relevant information from him. Accordingly, Plaintiffs do
   not seek to compel Higgins to produce bank and tax records.
                                                        5

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   companies associated with Female 4. 3 Plaintiffs’ ongoing review of these records has revealed

   that Williams moved money out of GCC through transfers to accounts associated with other

   limited liability companies, including those controlled by Female 4, and, over the course of the

   conspiracy, provided weekly payments directly to Female 4, all of which are listed as

   “commercial cash” transfers in the bank statements.

          For instance, it appears that Williams moved $850 on a weekly basis via checks from an

   account ending in       to an account ending in           which Female 4 and Williams both

   controlled. (See, e.g., ECF 192 (sealed filing) at RENASANT001200-001263;

   RENASANT000141.) The transfers were noted in the bank deposit slips as “for Female 4”

   (listing her true name) with a note stating “member draw” on several of the payments. (See, e.g.,

   id. at RENASANT001246.) The transfers were made as “commercial cash.” This pattern of

   approximately $850/week payments continued over the course of the alleged conspiracy, with

   over $35,000 withdrawn by Female 4 in “commercial cash” between March and December 2020

   alone. This evidence corroborates some of the facts alleged in the SAC concerning the nature and

   timing of the extortion scheme. See SAC ¶ 63. (Female 4 made “forged owner’s draws” to access

   the cash to pay off Sparks and other JCPD officers on a weekly basis).

          Notably, during her deposition, Female 4 could not provide any explanation for the work

   she performed for GCC during this time to justify the regular transfer of funds other than

   “holding the license.” Baehr-Jones Decl., Exh. 19, Deposition of Female 4 (“Female 4 Dep.”),




          3
             Through discovery, Plaintiffs have also learned that Williams opened multiple bank
   accounts in his name, as well as in GCC’s name, with different financial institutions, including
   one account that was shut down on suspicion of money laundering. (Baehr-Jones Decl., Exh. 18.)
   Plaintiffs have served additional subpoenas to obtain these bank records, as well as to track the
   money Female 4 moved out of Renasant bank accounts which she controlled. Plaintiffs are in the
   process of reviewing additional responses.
                                                         6

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   96:22-25; 97:1-9. She also provided inconsistent testimony regarding her level of involvement

   with GCC’s finances during the relevant time period, first stating she had no control over the

   company’s finances, and then admitting—when confronted with bank documents showing her

   signature on company checks and transfers—to having access to the accounts. 4 Compare id. at

   124:22-25; 125:1-3 (“I wasn’t signing checks or anything”; “) with id. at 128:4-25; 129:1-25;

   130:1-25; 131:1-16 (“Q: But you’re the one authorizing that movement [of funds?] A: Yes.”); see

   also id. at 73:5-25; 74:1-25; 75:1-11.

          In fact, the bank records show Female 4 maintained control of GCC bank accounts

   throughout the time of the conspiracy and then took over the accounts after Williams absconded.

   Records show, for example, that Female 4 opened a new account doing business as (“DBA”)

   GCC on April 26, 2022, which listed only her as the signatory. (ECF 192 at

   RENASANT000010.) 5 She then moved funds out of GCC’s old account into the new one which

   only she controlled. Once funds were in the new account, she began withdrawing large amounts

   in cash, appearing to structure withdrawals of $10,000 over several weeks in June 2022.




          4
             The bank records also show additional large “commercial cash” transfers from the same
   account (      ), with over $200,000 being withdrawn in 2020 alone. Many of these transfers
   move money to other limited liability companies (“LLCs”), a method of transferring funds that
   may have enabled illicit payments and money laundering. Additional records for Skyline
   Restoration and Manufacturing LLC, for example, show money transferred into Skyline from
   GCC, as well as large sums withdrawn in cash, or through personal checks, each month during
   the timeframe of the conspiracy. See, e.g., Baehr-Jones Decl., Exh. 20 (filed under seal), at 11
   ($5,000 withdrawn in cash on June 1, 2018), 20 ($3,606 withdrawn in cash on July 13, 2018), 43
   ($1,300 in cash on September 28, 2018). Plaintiffs are continuing to subpoena additional bank
   records for LLCs associated with Williams and GCC to trace all the funds.
           5
             Female 4 also offered inconsistent testimony on this point, first claiming that there was
   no “DBA” entity for GCC, and afterwards admitting the DBA entity existed, but only for
   purposes of the new bank account. Compare Female 4 Dep. at 112:11-12 (“There was no DBA
   set up.”) with id. at 113:5-7 (“Q: And it’s a DBA, correct? A: On banking documents, yes, but it
   wasn’t like an actual company or anything.”).
                                                       7

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          Female 4 also moved funds through a shell company which she opened on April 21,

   2022, Southern Construction and Consulting LLC. Female 4 Dep. at 267:8-15. The bank account

   for this LLC had minimal activity until August 29, 2022, when $97,190 was deposited, only for

   the entire amount to be drained by September 13, 2022, leaving a balance of $46. The account

   shows no further activity until it was closed in March 2023. When asked during her deposition

   what work Southern Construction performed during this time to justify the $97,190 deposit,

   Female 4 could not describe what work she performed other than “consulting,” and further

   testified there would be no invoices, receipts, or tax records for the company’s work, despite over

   $97,000 moving through the company in a one-month period. 6 Female 4 Dep. at 71:17-24; 72:5-

   11; 147:21-25; 148:1-25; 149:1-25; 150:1-25; 151:1-10.

          The timing of these transfers out of GCC into accounts controlled by Female 4 is

   significant. During her deposition, Female 4 testified that “Kevin Peters” called her on March 7,

   2022, purportedly to alert her that Williams was a fugitive. Female Dep. at 106:13-25; 107:7-8.

   The timing of this call makes no sense, however, since Williams had already been on the lam for

   ten months by then. When pressed during the deposition, Female 4 could not provide any

   reasonable explanation for why Peters would have called her in March 2022 to tell her that

   Williams was a fugitive. Id. at 107:11-13. After the call with Peters, Female 4 began taking steps

   to liquidate Williams’ assets, opening the new account in her name only and then transferring

   funds out of the old GCC account. There is also evidence that JCPD provided protection to

   Female 4 during this time when she grew concerned about Williams intervening. In June 2022,




          6
            It appears Williams and Female 4 may have been using Skyline’s accounts to move
   money to disguise payments to themselves or to make cash withdrawals. For example, in July
   2022—the month before Female 4 transferred $49,345 to Skyline—Skyline issued a $25,000
   check to Female 4. Exh. 20, at 478.
                                                       8

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   Female 4 then withdrew large amounts in cash from the new GCC accounts, taking out nearly

   $30,000 in cash in a two-week window.

          Female 4 attempted to walk back her testimony concerning the phone call with Peters—

   another sign that this call was suspect and not for legitimate purposes. After a break in the

   deposition, Female 4 claimed she was no longer sure that it was Peters and—incorrectly—

   asserted that Plaintiffs’ counsel had said his name first. In fact, Plaintiffs’ counsel had never

   stated Peters’ name. The change in her testimony is also suspicious given that Female 4 appeared

   to have a very clear memory of the phone call during her initial testimony. Female 4’s repeated

   changes to her testimony tend to show that her initial answer was not only the truthful one, but

   that she realized how incriminating it might be for Peters that she had been contacted by him

   then. See Female 4 Dep. at 157:1-19;178:18-25; 179:1-22; 183:5-11.

          In sum, bank records and deposition testimony tend to corroborate Plaintiffs’ allegations

   regarding the movement of funds out of GCC to Female 4, in ways that do not appear to be

   explained by legitimate business activity. Additionally, further evidence suggests that Peters and

   possibly other JCPD officers may have benefited from Female 4’s liquidation of GCC assets

   which began in April 2022 and continued through the summer of 2022. 7 All of this further

   supports that evidence of the corruption scheme is likely to be found in Defendants’ financial

   records.




          7
             Defendant City has produced Renasant Bank records for Williams and GCC for the
   years 2016-2022, which were inexplicably in the custody of JCPD in 2022. Counsel for the City
   has represented to Plaintiffs’ counsel that the City cannot find the subpoena that would have
   resulted in JCPD receiving these records. Baehr-Jones Decl. ¶ 11. It remains unexplained why or
   how JCPD came to have six-years’ worth of Williams’ bank records in 2022.
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    D. Corruption Scheme Broader Than Initially Known

        As the above tends to show, the corruption scheme appears to be more extensive than

 what was initially alleged in the SAC. As Plaintiffs have obtained evidence in discovery, it

 appears that JCPD may have coordinated with Female 4 in liquidating Williams’ assets in 2022.

 Additionally, Plaintiffs learned during the deposition of City Manager Cathy Ball that she also

 may have attempted to benefit financially from Williams around the same time. Specifically, Ball

 admitted that she was in contract to purchase Williams’ penthouse apartment, 200 E. Main Street,

 Unit 5, in April 2022. (Baehr-Jones Decl., Exh. 22, Deposition of Cathy Ball (“Ball Dep.”),

 127:17-25.) She negotiated the off-market sale with a real estate agent—and a lawyer—for a

 purchase price of $416,000, an amount that was well below the market value for the apartment.

 Id. 132:21-25; 133:1-2 (According to Washington County tax records, when Unit 5 was listed in

 2022, it was offered at $725,000, and ultimately sold for $800,000 in May 2022, meaning Ball

 was offered a nearly half-price offer in her off-market purchase in April 2022. (Baehr-Jones

 Decl, Exh. 23.)) Plaintiffs have requested the records for this contract to understand how Ball

 came to negotiate this off-market sale with Williams and the details of their contract. 8



        8
          Ball claimed during her deposition that she did not know who Williams was when she
 negotiated this off-market purchase, and only realized he was a fugitive during closing when
 Williams did not appear in person to finalize the sale. Ball Dep. at 128:5-10. This explanation
 defies common sense, however, and tends to conflict with her later testimony. Ball testified she
 lived in downtown Johnson City in a building across the street from Williams’ apartment since at
 least December 2021. Id. 126:7-15. As City Manager, she also oversaw the police department.
 By April 2022, Williams had been the most wanted fugitive in the City for nearly a year; a City
 employee (Dahl) had been terminated for reasons connected with Williams; and nearly everyone
 in Johnson City knew about the woman who had fallen from Williams’ penthouse apartment
 window. In fact, Ball admitted she also knew about this incident but had not connected it with
 anything else about Williams. Id. 132:7-20. Moreover, Ball requested Defendant Karl Turner run
 a criminal check on the neighborhood around Williams’ apartment before she closed the deal. Id.
 Her testimony was then inconsistent concerning whether she and Turner discussed Sean
 Williams: “Q: When Karl Turner ran this report for you on April 6th, 2022, were there any


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        Based on what Plaintiffs are obtaining through discovery, it is even more urgent that

 Plaintiffs have access to Defendants’ financial records. Not only has the evidence corroborated

 what Plaintiffs alleged in the SAC, but deposition testimony has revealed additional instances

 where Defendants—and even the City Manager—stood to benefit from financial dealings

 Williams and/or his companies.

    E. At Least Two Defendants’ Responses to Interrogatories Tend to Show Asset
       Purchases that Exceed Legitimate Income Sources

        As outlined in a previous filing, Defendant Jenkins’ responses to Plaintiffs’

 interrogatories tend to show a series of large asset purchases during the relevant time period of

 the conspiracy. In 2021, he purchased several acres of land in a wealthy suburb of Johnson City

 and began construction on a brand-new home. Construction on the property was finished in July

 2023. (Baehr-Jones Decl., Exh. 16, at 4.) Beginning in 2020, Jenkins also purchased three RVs

 and a speedboat, totaling over $73,500. Id. at 1-2. These purchases may have been an effort to

 launder cash obtained through the conspiracy. Jenkins states in his response to Plaintiffs’

 interrogatory that he took loans of approximately $27,000, $28,500, and $18,000 from Eastman

 Credit Union and Appalachian Community Federal Credit Union to make several of these

 purchases. Id. He then states that he sold one of the RVs and the speedboat on Facebook

 Marketplace but does not recall any details of the sales. Id. (Plaintiffs have requested receipts for

 these purchases, but thus far, have received no documents showing Facebook Marketplace sales.

 Baehr-Jones Decl. ¶ 10.) It is possible that Jenkins used the ill-gotten cash to repay the loans on

 the RVs, thereby making it appear that the cash came from selling the RVs on Facebook




 specific discussions about Sean Williams? A: There were some -- I don’t recall.” Id. 133:7-10.
 Thus, it defies reason and common sense—and tends to conflict with her testimony concerning
 her conversations with Turner—that Ball had no idea who Williams was in April 2022.
                                                      11

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 Marketplace, when in fact, he was depositing the cash obtained from the conspiracy and keeping

 the assets.

         For another sale, Jenkins states that he sold the RV he obtained with the $28,500 loan to

 Crowder RV Center. Documents for this sale obtained by Plaintiffs from Crowder RV, however,

 show that Jenkins sold the RV one year later for the pay-off amount of $6,914.23 plus $85.77, or

 $7,000 total, $21,500 less than the original loan amount. See ECF 205-4 (Redacted Copy of

 Crowder RV Records); Exh. 16 at 1-2. Thus, Jenkins could have repaid the full amount of the

 loan in part with ill-gotten cash, thereby laundering the cash through this transaction. Without

 Jenkins’ bank records, and without any of the receipts for these purchases and sales, however, it

 is not possible to prove this.

         Defendant Jeff Legault also lists purchases of

                    (Baehr-Jones Decl., Exh. 32, at 1.)

                                  (Id. at 2.)

         In sum, responses from both Jenkins and Legault suggest that each Defendant made large

 asset purchases that may have exceeded what would have been available from legitimate sources

 of income. For Jenkins, his use of loans to purchase assets which were then sold, including at

 least one for significantly less value, may have been a method of laundering cash received from

 the conspiracy. Many questions remain about the nature and legitimacy of these transactions,

 which is precisely why Plaintiffs require Defendants’ bank records.

         The other Defendants have failed to respond to Plaintiffs’ Interrogatories completely, so

 Plaintiffs cannot assess their total asset purchases over the relevant time period. Defendant

 Peters, for example, objected to Plaintiffs’ Interrogatory seeking information for asset purchases

 over $10,000, providing limited information without including any monetary value for the listed



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 assets, so it remains unclear whether he has made large purchases during the alleged conspiracy.

 (Baehr-Jones Decl., Exh. 15, at 4-5.) Defendant Turner similarly did not list all monetary

 amounts for purchases—specifically, he failed to disclose the amount financed for his wife’s

 car—and objected to the Interrogatory asking for all titles he holds for assets over $10,000,

 providing none. (Baehr-Jones Decl., Exh. 13, at 3.) Defendant Sparks also objected to both

 Interrogatories concerning assets over $10,000 and provided only those assets based on the “best

 of his recollection.” (Baehr-Jones Decl., Exh. 14, at 2-3.) Thus, for these Defendants, it is

 impossible to know whether there are large assets purchases during the relevant time period

 without access to their bank records.

    F. Newly Discovered JCPD Audit Trails Show Intentional Concealment and
       Destruction of Evidence on the Part of Defendants

        As noted above, Plaintiffs have obtained evidence in discovery that tends to corroborate

 the extortion scheme allegations. Plaintiffs have also obtained additional documents from

 Defendant City in discovery that tend to support knowing and intentional conduct on the part of

 Defendant Peters and Sparks in obstructing the investigations into Williams. This evidence

 further supports the instant motion because evidence of intentional obstructive conduct—i.e.,

 criminal conduct—makes it more likely that Defendants had a motive to conceal the extortion

 scheme and their ill-gotten cash.

        An excellent source of evidence for investigating police misconduct are audit trails.

 (Baehr-Jones Decl., Exh. 24, Deposition of Eric Daigle (“Daigle Dep.”), at 247:19-25; 248:1-2.)

 Audit trails are documents that police reporting systems generate that show which officers have

 viewed, printed, or edited a police report, as well as the date and time of each activity, among

 other information. Id. They are useful in determining whether there has been misconduct on the

 part of an officer because they can show an officer taking steps to cover up what happened,


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 either by editing another officers’ case notes, accessing reports for cases to which they are not

 assigned, or accessing reports after they have been removed from a case. Id. The JCPD audit

 trails for Williams’ sexual assault investigations show that all the above happened here.

        For instance, the audit trails show Defendant Peters actively monitored the case of one

 Williams’ victim which he testified to having no knowledge about and to which he was not

 directly assigned. Peters viewed the “incident case notes” in the case of Female 2, who reported

 her sexual assault by Williams on June 2, 2020, four times the same day she reported her assault,

 making several edits. (Baehr-Jones Decl., Exh. 25.) He then viewed the notes six more times on

 June 9, again on June 11, and again on June 16, 2020. (Id.) The JCPD reports for Female 2,

 however, do not show that Defendant Peters had any role—or at least, no legitimate role—in the

 investigation of her sexual assault. (Baehr-Jones Decl., Exh. 26 (noting only that Peters provided

 the correct phone number for Female 2).)



        (Baehr-Jones Decl., Exh. 29, at 23.)

        At the same time that Peters repeatedly accessed Female 2’s report during June 2020, the

 audit trails for B.P.’s case file show Peters also viewed her records. (Baehr-Jones Decl., Exh. 27.)

 This is significant because it shows that Peters was not only monitoring Female 2’s case, but he

 was also aware that another Williams’ victim had reported her sexual assault just six months

 prior, and he was connecting the two incidents. Specifically, on June 9, 2020, Peters viewed the

 “main narrative case notes” and “B Richardson case notes” in B.P.’s case. (Id.) This is also

 notable because by this time—at least according to existing JCPD records—B.P.’s case had long

 been inactive: the case notes show the investigating officer requested to close her case on

 November 27, 2019, and no further investigatory work was done between then and June 2020.



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 Thus, there is nothing in B.P.’s file which suggests that Peters had any reason to know about her

 case, let alone be familiar with the file or have a reason to view it.

        The audit trails for Female 2’s case




                          (Baehr-Jones Decl., Exh. 29) In fact, from the time Investigator Dunn

 began working the case on June 3, the audit trails show Peters reviewed Female 2’s file eight

 times and B.P.’s file as well, all before Dunn requested to close the case on June 24, 2020. Thus,

 even though Peters was aware by then of two similar reports of sexual assault by the same

 perpetrator, Williams, within a six-month period, and was actively monitoring both cases, he

 took no action to further either of the investigations. Instead, Female 2’s case was closed within a

 month of JCPD receiving her report. Notably, Daigle testified that his review of Female 2’s case

 file showed JCPD’s mishandling of her case was “egregious.” Daigle Dep. 217:17-25; 218:1-12.

        Similarly, during the investigation into Female 8’s report of rape from July 2022 through

 March 2023, Defendant Peters viewed the reports of multiple other Williams’ victims, including

 B.P. and Female 2, despite those cases having long been closed or inactive (Baehr-Jones Decl.,

 Exhs. 25 and 27.) Ultimately, JCPD would also close Female 8’s case on March 16, 2023, again

 with no charges having been brought. (Baehr-Jones Decl., Exh. 34.) And again, the audit trails

 show Peters was monitoring the case file, as well as viewing old Williams’ reports, all throughout

 the time that Female 8’s case was open. (Baehr-Jones Decl., Exh. 35.) Significantly, there is

 nothing to indicate that Peters—the number two commanding officer in the Department by this

 point—would have any reason to be actively monitoring these police reports, and regularly

 viewing and printing them, especially since the investigations went nowhere. These audit trails,



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 combined with Peters’ inaccurate testimony, suggest he was closely monitoring Williams’ reports

 for an ulterior reason.

        The audit trails also show destruction and/or concealment of evidence. For instance, the

 audit trail for B.P.’s case shows that Defendant Sparks edited the case notes for another officer

 involved in the investigation, JCPD Officer Bret Richardson, multiple times. 9 This is significant

 because Richardson’s name has been removed from the case notes. In the case file for B.P.

 produced by Defendant City, there is no record that Officer Richardson authored any of the case

 notes. Instead, the “Officer ID” line on the case notes is now blank. (See Baehr-Jones Decl., Exh.

 28, at 1.) Thus, it may be that one of Sparks’ edits to the case notes was to delete the original

 investigator’s name from the case file. This would have effectively concealed from Plaintiffs—

 and anyone else—the identity of the original investigating officer on B.P.’s case. In fact, the only

 reason Plaintiffs now know his identity is because of the audit trails.

        Critically, there are material differences between what the victims recount happened and

 what ended up in the final versions of their reports. For example, B.P. is adamant that she wanted

 her case to be investigated and prosecuted. This is corroborated by her actions on the day of her

 sexual assault: she went straight from Williams’ apartment to an urgent care and then a hospital

 where a rape kit was administered, and she submitted to a drug test which showed she had

 benzos in her system, a drug she never would have taken voluntarily. She also provided a written

 statement that day and gave her clothes to the police so they could be tested for DNA. And yet,

 Officer Richardson’s case notes—or at least, the version of these notes that currently exists—



        9
           Defendant Higgins testified that it would trouble him if someone else had edited his
 case narrative notes because, “That’s putting stuff in there that I did not do.” Higgins Dep. 123:9-
 18. Higgins further testified that he would never edit someone else’s case notes. Id. Yet the audit
 trails show Sparks editing Higgins’ case narrative notes, as well as other officers’ notes, multiple
 times.
                                                      16

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 state that she did not return his phone calls and failed to show up for a scheduled interview.

 (Baehr-Jones Decl., Exh. 28.) The notes then show that he almost immediately requested for the

 case to be closed, even though the results of the rape kit were still pending. Id. In other words,

 the case notes are inconsistent with B.P.’s actions following her rape; B.P.’s memory of the

 events; and what would be required in an active rape investigation with pending evidence

 submitted for DNA testing. This tends to suggest that one reason Sparks might have deleted

 Richardson’s name from the case notes is because these notes are not actually his but are instead

 Sparks’ later edits which he made to justify what happened in B.P.’s case.

        Similarly, Defendant Higgins’ case notes for Female 8—which the audit reports show

 Sparks edited repeatedly—also omit material evidence. Female 8 told Defendant Higgins that

 she saw images on Williams’ phone which depicted Williams’ penis in the mouths of children. 10

 Id. ¶ 54. Yet, Higgins’ case narrative notes state only that Female 8 told him that she “observed

 several photos of Williams and what appeared to be children,” omitting the critical fact that

 Female 8 had told him Williams was sexually assaulting the children. (Baehr-Jones Decl., Exh.

 33.) Female 8 also told Higgins about specific minors whom she suspected Williams may have

 been targeting. Inexplicably, none of this material information ended up in his report. Id. Had

 Higgins acted on Female 8’s statements, he likely would have been able to establish new

 probable cause to search Williams’ digital devices, which were still in the custody of JCPD, and

 which Plaintiffs allege contained child sexual abuse material. Instead, JCPD did nothing and

 closed Female 8’s case. Id.




        10
          There is no dispute that she did, in fact, report this to Defendant Higgins as there is a
 video recording of this interview. Baehr-Jones Decl. ¶ 54.
                                                      17

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        Finally, the audit trails also show Defendant Sparks edited the files for victims B.P.,

 Female 8, and Female 12, two months after he was removed from all Williams’ investigations

 and instructed to stop working on Williams’ cases. (Baehr-Jones Decl., Exhs. 25, 27, 35.) In fact,

 by August 2023, JCPD had been removed from any Williams’ investigation. See ECF 221 at 12.

 Yet Sparks continued to edit the files of Williams’ victims.

        Thus, the evidence suggests that the edits which Sparks (and others) made to the victims’

 files were material, either justifying the improper closure of investigations into Williams or

 concealing critical evidence against him. The audit trails strongly support intentional and

 knowing obstructive conduct on the part of Sparks and Peters, and further corroborate the TVPA

 allegations regarding extortion and corruption, making it more likely that evidence of financial

 gain will be found through discovery of Defendants’ bank records.

                                        LEGAL STANDARD

        This Court has previously explained that “[t]he scope of discovery under the Federal

 Rules of Civil Procedure is traditionally quite broad.” ECF 128 at 14 (quoting Meredith v. United

 Collection Bureau, Inc., 319 F.R.D. 240, 242 (N.D. Ohio 2017)). Federal Rule of Civil Procedure

 26(b)(1) (“Rule 26(b)(1)”) provides that a party is entitled to take discovery of any matter that is

 relevant to the claim or defense of any party, even if not admissible itself, if such discovery is

 reasonably calculated to lead to admissible evidence. F.T.C. v. Trudeau, 2012 WL 5463829, at *4

 (N.D. Ohio Nov. 8, 2012); Fed. R. Civ. P. 26(b)(1).

                                            ARGUMENT

        As set forth above, Plaintiffs’ allegations regarding the extortion scheme have already

 been borne out in discovery with evidence that Female 4 was accessing cash through transfers to

 shell companies in a manner strikingly similar to what is alleged in the SAC. Compare ECF 192,



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 at RENASANT001246 (“member draw”) with SAC ¶ 63 (“owner draws”). There is also

 testimony evidence from both Female 4 and City Manager Cathy Ball potentially inculpating

 Defendant Peters, Ball, and other JCPD officers in efforts to benefit financially from the

 liquidation and sale of Williams’ assets in 2022, and the audit trails show efforts to conceal and

 destroy evidence on the part of Peters and Sparks. Thus, evidence obtained in discovery has

 tended to support the most serious allegations in Plaintiffs’ complaint which allege police

 extortion and obstruction.

        To date, however, Defendants have failed to produce financial records in response to

 Plaintiffs’ requests for production and have provided inadequate and incomplete responses to

 interrogatories requesting information on large asset purchases. 11 Because Defendants’ financial

 records are relevant to the claims alleged in the SAC—namely, the extortion scheme and the

 conspiracy to cover-up any investigation into Williams, as alleged in Counts I-IV, pursuant to 18

 U.S.C. §§ 1595, 1591(a), and 1591(d)—the Court should grant Plaintiffs’ motion to compel and

 order Defendants (1) to produce the requested tax and bank statements, (2) to provide complete

 responses to the interrogatories relating to asset purchases over $10,000, and (3) order Jenkins to

 produce complete receipts for his Facebook Marketplace sales. Moreover, because Plaintiffs

 have expended over 10 hours of attorney time in bringing this motion, Plaintiffs ask for an award

 of attorneys’ fees. This sanction is appropriate and necessary in order to deter Defendants from

 continuing to obstruct Plaintiffs’ ability to conduct discovery in this case.

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        11
            As set forth below, Plaintiffs have engaged in a lengthy meet and confer process in an
 effort to obtain these records before seeking Court intervention.
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    A. Defendants’ Financial Records Are Relevant to Proving the TVPA Claims

        Relevant evidence is defined in Federal Rule of Evidence 401 as evidence having “any

 tendency to make a fact more or less probable than it would be without the evidence.” Fed. R.

 Evid. 401. “Relevancy is an extremely broad concept. Both the Supreme Court and the Sixth

 Circuit have noted that the standard set forth in Rule 401 is a liberal one.” United States v. Maike,

 613 F. Supp. 3d 991, 997 (W.D. Ky. 2020) (quoting Hinkle v. Ford Motor Co., No. 3:11-24-DCR,

 2012 WL 4049477, at *1-2 (E.D. Ky. Sept. 13, 2012)) (citing Churchwell v. Bluegrass Marine,

 Inc., 444 F.3d 898, 905 (6th Cir. 2006)).

        Here, Plaintiffs’ request for Defendants’ financial records in the form of tax records and

 bank statements more than meets the relevance standard of Rule 26(b)(1). Plaintiffs allege claims

 against all Defendants that involve knowing and intentional conduct. Specifically, Plaintiffs

 allege that Defendants participated in a conspiracy to cover-up JCPD’s extortion of Williams

 through Female 4, by obstructing any investigation into Williams’ sex trafficking venture. SAC

 ¶¶ 80, 87, 313-16, 143-83. Whether Defendants received cash from the alleged extortion scheme

 is relevant to their motive and intent to participate in the obstruction conspiracy. See Roche

 Diagnostics Corp. v. Shaya, 679 F. Supp. 3d 588, 600 (E.D. Mich. 2023) (income tax evidence

 showing defendant’s economic benefit from fraud scheme admissible at trial to show motive);

 see also United States v. Sutton, 732 F.2d 1483, 1493 (10th Cir. 1984) (“Evidence that defendant

 falsely certified crude oil logically tended to show defendant’s motive and intent to obstruct

 justice.”); United States v. Carmichael, 685 F.2d 903, 910 (4th Cir. 1982) (“evidence of the

 conspiracy and actual vote buying would have been admissible against each defendant in

 separate trials for obstruction of justice to prove motive”).




                                                      20

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        As alleged, Defendants’ actions not only put their careers on the line but opened them up

 to potential criminal liability as well. Indeed, Counts I-IV, including Count III, alleging

 obstruction under § 1591(d), are part of the federal criminal code, and if proved true, Plaintiffs’

 allegations amount to criminal conduct. Evidence that Defendants were benefiting from their

 participation in the obstruction conspiracy explains why they would risk so much to engage in

 such misconduct and would be admissible at trial to prove motive and intent.

        Nor does any privacy interest Defendants may assert justify withholding these documents

 from Plaintiffs in discovery. “As the Sixth Circuit has consistently recognized, there is no

 privacy interest in the financial affairs of an individual.” State Farm Mut. Ins. Co. v. Policherla,

 2009 WL 2170183, at *3 (E.D. Mich. July 20, 2009) (citing Jenkins v. Rock Hill Local Sch. Dist.,

 513 F.3d 580, 591 (6th Cir. 2008) and Overstreet v. Lexington–Fayette Urban County Gov’t, 305

 F.3d 566, 575 (6th Cir. 2002). Any concern for Defendants’ privacy can be adequately addressed

 through redactions or confidentiality designations pursuant to the protective order in this case.

        As set forth above, discovery in this case so far has corroborated what Plaintiffs have

 alleged with respect to intentional and knowing misconduct. Female 4 moved money out of GCC

 accounts and into shell businesses in strikingly similar methods to what is alleged in the SAC.

 Bank records from Renasant Bank show that large amounts of money were being transferred

 through different limited liability companies, including Skyline Restoration and Manufacturing

 LLC and Southern Construction and Consulting LLC, and then withdrawn in cash or cashed

 checks—including regular amounts withdrawn from Skyline during the timeframe of the

 conspiracy. See, e.g., Exh. 20. Moreover, Ball’s testimony concerning her own real estate

 contract with Williams in April 2022, and Female 4’s testimony concerning Defendant Peters’

 phone call in March 2022, suggest additional instances of extortion and public corruption beyond



                                                      21

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 what Plaintiffs initially alleged. Thus, Plaintiffs’ requests for financial records are reasonable in

 light of the allegations in the case, as well as recent discovery which has corroborated Plaintiffs’

 allegations in the SAC. Contrary to Defendants’ objections, Plaintiffs’ requests are not intended

 to harass, nor are they unduly burdensome, but are reasonably calculated to obtain material

 evidence proving that the Defendant officers had a financial incentive to carry out acts of

 obstruction.

    B. Plaintiffs Have Exhausted the Meet and Confer Process

        Beginning on March 8, 2024, Plaintiffs engaged in an extensive meet and confer process

 on their requests for Defendants’ tax returns and bank records. (Baehr-Jones Decl. ¶ 10.) After

 several months of back and forth, on May 15, 2024, counsel for Defendant Sparks offered to

 produce limited and incomplete records, showing only deposits for a limited time window and

 monthly summaries of total withdrawals and deposits. Id. Counsel for Jenkins, Legault, and

 Higgins also offered to produce bank statements for a limited time window. Id. All other

 Defendants have refused to provide any financial records, including tax and bank records. Id.

        Plaintiffs cannot agree to limited or excerpted bank records due to the complexity of

 proving that Defendants had access to funds above what was available from legitimate sources.

 Although Plaintiffs’ counsel attempted to provide compromise offers during the meet and confer

 process—at one point offering to accept bank statements for a limited time period—counsel’s

 review of the Renasant Bank records has demonstrated how critical it is to be able to view the

 totality of bank transactions and activity in order to understand how illicit funds are being

 laundered. Given the nature of the allegations—police corruption amounting to a criminal

 conspiracy—it is likely that Defendant officers used complex means to conceal and launder any

 ill-gotten funds. For example, Defendants may have made small deposits over a long period of



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 time to conceal large amounts of cash. Or Defendants may have borrowed from their banks to

 make what appear to be legitimate purchases, like financing a house or purchasing an RV, and

 then repaid those purchases with the ill-gotten cash. Without complete records for the full time

 period of the alleged conspiracy, it will be difficult—if not impossible—to uncover such efforts

 to conceal funds.

    C. An Award of Attorneys’ Fees Is Necessary Here to Deter Future Noncompliance

        Plaintiffs’ counsel expended significant time attempting to work with defense counsel to

 obtain the financial records for Defendants through civil discovery. That process has resulted in

 Plaintiffs receiving no records thus far. Counsel then spent over 10 hours preparing this brief and

 the accompanying exhibits in order to compel production of Defendants’ financial records. As set

 forth in the attached Declaration of Vanessa Baehr-Jones, the total in fees and costs incurred in

 bringing this motion is $9,375. Baehr-Jones Decl. ¶¶ 52-53, Exh. 30; see United States v. Singh,

 No. CR 4:21-cr-00123-HSG (EDCA), ECF 88 at 6 (“[T]he Court also finds reasonable the $750

 hourly rate for Victim’s counsel, an attorney with extensive federal and state experience

 prosecuting child exploitation cases who specializes in sex abuse cases in private practice.”).

        Attorneys’ fees and costs are justified here under Federal Rule of Civil Procedure

 37(a)(5)(A). If a motion to compel disclosure is granted or disclosure is provided after a motion

 to compel disclosure is filed, Rule 37(a)(5)(A) authorizes the Court “to require the party whose

 conduct necessitated the motion, and/or the attorney advising that conduct, to pay the movant’s

 reasonable expenses incurred in making the motion, including attorneys’ fees, unless the movant

 did not attempt in good faith to obtain disclosure before filing the motion, the opposing party’s

 failure to disclose was substantially justified, or other circumstances make an award of expenses

 unjust.” Acker v. Workhorse Sales Corp., No. 06-CV-14467, 2008 WL 1902034, at *3 (E.D.



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 Mich. Apr. 28, 2008) (emphasis added). Whether and to what extent discovery sanctions are

 warranted are for the Court to decide in its discretion. National Hockey League v. Metropolitan

 Hockey Club, Inc., 427 U.S. 639, 642, 96 S.Ct. 2778, 49 L.Ed.2d 747 (1976); Harmon v. CSX

 Transportation, Inc., 110 F.3d 364, 366 (6th Cir. 1997).

        As set forth in the attached Baehr-Jones Declaration, Plaintiffs’ counsel has made

 repeated efforts to obtain complete responses to Plaintiffs’ requests and interrogatories regarding

 Defendants’ financial records. Defendants’ failure to respond was not substantially justified as

 these materials are plainly relevant to Defendants’ motive and intent in participating in the

 alleged cover-up. Nor would an award of fees be unjust here. To the contrary, Plaintiffs are only

 requesting fees now—after there has already been extensive litigation regarding discovery in this

 case—because it has become clear that Defendants will be disincentivized to provide timely and

 fulsome responses to requests otherwise.

        Unfortunately, Plaintiffs anticipate having to file additional motions to compel to obtain

 other outstanding discovery. This includes Defendant City’s failure to search Defendant Turner’s

 computer for responsive discovery (see Baehr-Jones Decl., Exh. 31); Defendant City’s refusal to

 use an outside vendor, or in the alternative conduct an in-person, attorney-led search, to review

 Defendants’ JCPD-issued cell phones for responsive materials (instead, the City used JCPD

 officer David Hilton, a potential co-defendant, to conduct extractions from Turner’s and Peters’

 cellphones) 12 (id. ¶ 13); all Defendants’ current refusal to produce their cellphone call logs,

 which Plaintiffs agreed to allow them to subpoena themselves (rather than Plaintiffs’ counsel




        12
           Hilton supervised Defendant Sparks on the Williams’ cases. Given the allegations that
 JCPD officers engaged in a conspiracy to obstruct justice, including concealing and destroying
 records, it is grossly inadequate to task one of the officers potentially involved in the scheme
 with conducting the extraction of Turner and Peters’ cellphones for responsive discovery.
                                                      24

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 issuing subpoenas to the cellphone providers directly) only for defense counsel to refuse to

 produce the call logs for the time periods requested by Plaintiffs (id. ¶ 14); and Defendants’

 failure to produce complete cell phone communications for Defendants Turner, Legault, and

 Higgins, all of which are still outstanding (id. ¶ 15).

         Additionally, there is now evidence that Defendant City improperly withheld discovery in

 this case—including Plaintiffs’ own case files—in coordination with District Attorney Steven

 Finney. See ECF 221 at 13-15. It was only once this Court denied the City’s motion to quash the

 subpoena to Eric Daigle that the City began to produce records to Plaintiffs on March 19, 2024—

 ten months into the case and after repeated requests by Plaintiffs for their own police reports. Id.

 Plaintiffs have had to litigate to obtain even the most basic discovery in this case, yet this is the

 first time Plaintiffs’ counsel has requested fees. Plaintiffs request this relief now in order to deter

 further noncompliance by Defendants and to ensure that this case can progress through discovery

 in a timely manner.

                                           CONCLUSION

         For the foregoing reasons, Plaintiffs request the Court (1) order Defendants Turner,

 Peters, Sparks, Jenkins, and Legault to produce the records requested in Plaintiffs’ Requests for

 Production and Interrogatories, see supra pages 3-4; (2) order Defendant City to produce the real

 estate contract between Cathy Ball and Sean Williams; and (3) award attorneys’ fees and costs of

 $9,375.

 Dated: June 27, 2024                            Respectfully submitted,

                                                 Advocates for Survivors of Abuse PC

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                                     CERTIFICATE OF SERVICE

        I HEREBY certify that a copy of the foregoing has been filed and served via the court's

 electronic filing system on June 27, 2024 to counsel of record:

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